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 1                               UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3

 4 JAMES EDWARD SCOTT, III,                                Case Number 3:23-cv-00253-ART-CSD

 5                           Plaintiff,
                                                          ORDER EXCLUDING CASE FROM
 6 v.                                                     EARLY MEDIATION PROGRAM

 7 HOLTZ, et al,

 8                           Defendants.

 9
            Plaintiff James Edward Scott III (Inmate #1207166) is a frequent litigator in this Court.
10
     Mr. Scott currently has 29 open cases pending before this Court. Since 2019, Mr. Scott has filed
11
     over 30 civil rights actions. Mr. Scott has attended multiple inmate mediations and a global
12
     settlement conference in his civil rights cases which have proved both unproductive and
13
     unsuccessful. (See: 3:23-cv-00272-ART-CSD, 3:23-cv-00260-MMD-CLB, and 3:23-cv-00264-
14
     ART-CLB).
15
            The court has reviewed this case and, while not opining on the merits, has determined
16
     that it shall be excluded from the inmate mediation program in order to preserve the court’s
17
     limited resources. An order granting in forma pauperis shall issue and this case shall proceed on
18
     the normal litigation track. The parties are free to privately discuss settlement if they so choose.
19
            IT IS SO ORDERED.
20
            Dated: August 5, 2024
21
                                                               _________________________________
22                                                             Craig S. Denney
                                                               United States Magistrate Judge
23
